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EXHIBIT F

Deferral Agreement
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EXECUTION VERSION

LEASE AND SUBLEASE RENT DEFERRAL AGREEMENT

THIS LEASE AND SUBLEASE RENT DEFERRAL AGREEMENT (this “Rent
Deferral”), is made effective as the 15" day of April, 2020 (the “Effective Date”), by and among
BANK OF UTAH, not in its individual capacity but solely as Owner Trustee, as lessor (the
“Lessor”’), HONDA AIRCRAFT COMPANY, LLC, as lessee (the “Lessee’”) and as sublessor (the
“Sublessor”’) and WING SPIRIT INC., as sublessee (the “Sublessee’’).

WHEREAS, the Lessor and the Lessee are parties to that certain Aircraft Lease Agreement
dated January 31, 2020, recorded by the Federal Aviation Administration on March 3, 2020 and
assigned Conveyance No. OT023097 (together with all exhibits and addenda thereto, and as the
same may be amended, restated or supplemented from time to time, the “Lease Agreement”);

WHEREAS, pursuant to the Lease Agreement, the Lessor leased to the Lessee Seven (7)
Honda Aircraft Company, LLC model HA-420 Aircraft bearing manufacturer’s serial numbers
(“MSNs”) 42000155, 42000156, 42000073, 42000111, 42000118; 42000160 and 42000161
(collectively, the “Airframes”), each equipped with two (2) GE Honda Aero Engines model
HF120 (collectively, the “Engines”) (the Engines together with the Airframes and all ‘parts,
accessories and equipment relating to the preceding MSNs as further described in the Lease
Agreement, collectively, the “Leased Aircraft”, as more particularly described on Annex I
attached hereto);

WHEREAS, the Lessor and the Lessee desire to defer certain rent payments under the
Lease Agreement as set forth herein;

' WHEREAS, the Sublessor and Sublessee entered into that certain Sublease Agreement
dated January 31, 2020, recorded by the Federal Aviation Administration on March 3, 2020 and
assigned Conveyance No. OT023098 (together with all exhibits and addenda thereto, and as the
same may be amended, restated or supplemented from time to time, the “Sublease Agreement”);

WHEREAS, pursuant to the Sublease Agreement, the Sublessor leased the Leased Aircraft
to the Sublessee; and

WHEREAS, the Sublessor and the Sublessee desire to defer certain rent payments under
the Sublease Agreement as set forth herein.

NOW THEREFORE, for valuable consideration, the receipt and adequacy of which are
hereby acknowledged, the Lessor, the Lessee, the Sublessor and the Sublessee hereby agree as
follows:

1. Definitions. Except as otherwise defined in this Rent Deferral, terms defined in the Lease
_ Agreement and Sublease Agreement are used herein as defined therein.

2. Modification. The Lessor and Lessee, under the Lease Agreement and the Sublessor and
Sublessee, under the Sublease Agreement agree as set forth in Annex II.

3. No Further Amendment. Notwithstanding the modifications referred to in this Rent
Deferral, all other terms and conditions of the Lease Agreement, the Sublease Agreement,

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and all other Operative Documents remain unmodified, unchanged and in full force and
effect.

4. Further Assurances. The parties hereto hereby agree to execute and deliver such other
instruments and documents and to take such other actions as any party hereto may
reasonably request in connection with the transactions contemplated by this Rent Deferral.

5. Counterparts. This Rent Deferral may be executed in any number of counterparts, all of
which taken together shall constitute one and the same instrument and any of the parties
thereto may execute this Rent Deferral by signing any such counterpart.

6. Third Party Beneficiaries. Except as expressly provided in this Rent Deferral, this Rent
Deferral is intended for the benefit of the Lessor, the Lessee and Sublessor, the Sublessee,
and the Lender, and their respective permitted successor and assigns, and is not for the
benefit of, nor may any provision of this Rent Deferral be enforced by, any other person or
entity.

7. Governing Law. This Rent Deferral shall be governed by and construed in accordance
with the law of the State of New York, including Section 5-1401 and Section 5-1402 of the
New York General Obligations Law, but excluding to the maximum extent permitted by
applicable law, all other conflicts of laws principles and choice of law rules of the State of
New York.

8. FINAL AGREEMENT. BY SIGNING THIS RENT DEFERRAL EACH PARTY
REPRESENTS AND AGREES THAT: (A) THIS DOCUMENT REPRESENTS THE
FINAL AGREEMENT BETWEEN THE PARTIES WITH RESPECT TO THE SUBJECT
MATTER HEREOF, (B)THIS RENT DEFERRAL SUPERSEDES ANY
COMMITMENT LETTER, TERM SHEET OR OTHER WRITTEN OUTLINE OF
TERMS AND CONDITIONS RELATING TO THE SUBJECT MATTER HEREOF,
(C) THERE ARE NO UNWRITTEN ORAL AGREEMENTS BETWEEN THE
PARTIES, AND (D) THIS RENT DEFERRAL MAY NOT BE CONTRADICTED BY
EVIDENCE OF ANY PRIOR, CONTEMPORANEOUS, OR SUBSEQUENT ORAL
AGREEMENTS OR UNDERSTANDINGS OF THE PARTIES. THERE ARE NO
UNWRITTEN ORAL AGREEMENTS BETWEEN THE PARTIES.

[Signature Page Follows]

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IN WITNESS WHEREOF, cach of the Lessor, Lessee, Sublessor and Sublessee have
caused this Rent Deferral to be executed and delivered by its duly authorized officer on the date
first written above.

LESSOR: LESSEE/SUBLESSOR:

BANK 0 ‘UTAH, net in its individual HONDA AIRCRAFT COMPANY,

By:

 

Name:
Title:

 

 

 

 

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IN WITNESS WHEREOF, each of the Lessor, Lessee, Sublessor and Sublessee have
caused this Rent Deferral to be executed and delivered by its duly authorized officer on the date
first written above.

LESSOR: LESSEE/SUBLESSOR:

 

 

 

 

BANK OF UTAH, not in its individual HONDA AIRCRAFT COMPANY,
capacity but solely as Owner Trustee LLC
DocuSigned by:
By: By: Sinan. Koad
Name: Name: Simon Roads
Title: Title: VP sales

 

 

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SUBLESSEE:

WING SPIRIT INC.

Nan _ TET) Re WANDA

Title: CEO

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Acknowledged and agreed:
LENDER:

APPLE BANK FOR SAVINGS

Dana WacKhumnen

By:

Name: Dana MacKinnon

 

Title: Senior Vice President

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Annex I
Description of Airframes, Engines and Leased Aircraft

One (1) Honda Aircraft Company, LLC model HA-420 aircraft bearing manufacturer's
serial number 42000155 and U.S. Registration No. N191WS and two (2) GE Honda Aero
Engines model HF120 aircraft engines bearing manufacturer's serial numbers 883422 and
883423.

One (1) Honda Aircraft Company, LLC model HA-420 aircraft bearing manufacturer's
serial number 42000156 and U.S. Registration No. N192WS and two (2) GE Honda Aero
Engines model HF120 aircraft engines bearing manufacturer's serial numbers 883424 and
883425.

3.One (1) Honda Aircraft Company, LLC model HA-420 aircraft bearing manufacturer's
serial number 42000073 and U.S. Registration No. N992WS and two (2) GE Honda Aero
Engines model HF120 aircraft engines bearing manufacturer's serial numbers 883221 and
883222.

One (1) Honda Aircraft Company, LLC model HA-420 aircraft bearing manufacturer's
serial number 42000111 and U.S. Registration No. N994WS and two (2) GE Honda Aero
Engines model HF120 aircraft engines bearing manufacturer's serial numbers 883334 and
883335.

One (1) Honda Aircraft Company, LLC model HA-420 aircraft bearing manufacturer's
serial number 42000118 and U.S. Registration No. N996WS and two (2) GE Honda Aero
Engines model HF120 aircraft engines bearing manufacturer's serial numbers 883351 and
883352.

One (1) Honda Aircraft Company, LLC model HA-420 aircraft bearing manufacturer's
serial number 42000160 and U.S. Registration No. N193WS and two (2) GE Honda Aero
Engines model HF120 aircraft engines bearing manufacturer's serial numbers 883433 and
883466.

One (1) Honda Aircraft Company, LLC model HA-420 aircraft bearing manufacturer's
serial number 42000161 and U.S. Registration No. N551 WS and two (2) GE Honda Aero
Engines model HF120 aircraft engines bearing manufacturer's serial numbers 883441 and
883434.

(collectively, the "Leased Aircraft")
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Annex II

Modifications

1. Rent Deferral. The Lessor and Lessee, under the Lease Agreement and the Sublessor and
Sublessee, under the Sublease Agreement agree to defer a portion (each a “Deferred Rent
Payment’) of the Basic Payment due with respect to the Leased Aircraft (i) from Lessee
to Lessor under the Lease Agreement and (ii) from Sublessee to Sublessor under the
Sublease Agreement, on each Basic Payment Date set forth below in an amount equal to
1.0729% of Lessor’s cost of each Leased Aircraft as follows:

(a) the Deferred Rent Payment otherwise due and owing on April 15, 2020, the
Deferred Rent Payment otherwise due and owing on May 15, 2020, and the Deferred Rent
Payment otherwise due and owing on June 15, 2020, and

(b) the additional deferral at the option of the Sublessee (the “Additional
Deferral Option”), solely to the extent such option is exercised by the Sublessee in a
written notice to Apple Bank for Savings (the “Lender”) and the Lessor (with a copy to
the Sublessor), delivered no later than July 15, 2020, the Deferred Rent Payment otherwise
due and owing on July 15, 2020, the Deferred Rent Payment otherwise due and owing on
August 15, 2020, and the Deferred Rent Payment otherwise due and owing on September
15, 2020 (collectively and together with the Deferred Rent Payments described in Section
2(a), the “Aggregate Deferred Rent Payment’) shall instead be paid starting on the Basic
Payment Date on October 15, 2020 in twenty-four (24) equal monthly installments of (x)
to the extent the Additional Deferral Option is not exercised, $43,898.53 (in the case of all
Deferred Rent Payments otherwise payable through June 15, 2020), or (y) to the extent the
Additional Deferral Option is exercised, $88,180.45 (in the case of all Deferred Rent
Payments otherwise payable through September 15, 2020) (each to the extent applicable,
a “2020 Monthly Deferred Rent Payment’).

For the avoidance of doubt, each Aggregate Deferred Rent Payment shall accrue
interest on the unpaid balance thereof at seven percent (7%) per annum from and after the
last deferred payment thereof until the Aggregate Deferred Rent Payment is paid to Lessor
in full, such interest being due and payable by the Lessee and the Sublessee (as applicable)
on each Basic Payment Date under the Lease Agreement and Sublease Agreement,
respectively. Either of Lessee and Sublessee may, in their sole and absolute discretion,
prepay any portion of the 2020 Monthly Deferred Rent Payment without penalty, in which
case interest will be calculated based on the actual unpaid and outstanding balance.

2. Administrative Fee. The Sublessee agrees to pay to Stellwagen Capital LLC an
administrative fee equal to 1.00% of each Deferred Rent Payment on the due date thereof
at the following account: ABA: 071 000 152- The Northern Trust, Account No:
3801559823, SWIFT: CNORUS44. If Lessee or Sublessee prepays any portion of one or
more Deferred Rent Payments, then the administrative fee will be chargeable to Sublessee
only on that portion of each Deferred Rent Payment that is actually unpaid and outstanding
as of such due date.

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